
HOOD, Judge.
This case has been consolidated for trial and appeal with the cases of Louisiana Resources Company v. Edwards, et al., La.App., 329 So.2d 477 (No. 5455 on our docket) ; and Louisiana Resources Company v. Pere, La.App., 329 So.2d 480.
We granted certiorari and a stay order in these consolidated cases to review the trial court’s refusal to grant defendants’ motion for a continuance.
For the reasons assigned in Louisiana Resources Company v. Edwards, et al., supra, the writ issued herein is maintained, and judgment is rendered remanding the case to the trial court, and directing the trial judge to proceed with or to resume the trial of this case in not less than ten or more than twenty days from and after the date of this judgment.
The costs of this proceeding are to be assessed at the time a final judgment is rendered in this case.
Writ maintained and case remanded.
WATSON, J., dissents and assigns reasons.
